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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK/EMR/PP/MED/AA                                   271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201



                                                   January 13, 2023

By ECF

The Honorable Peggy Kuo
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Genaro Garcia Luna
                     Criminal Docket No. 19-576 (S-1) (BMC)

Dear Judge Kuo:

               In accordance with the Court’s order dated January 3, 2023, the government
respectfully submits a list of jurors whom both sides believe should be excused and a list of
those whom should appear.


                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:       /s/
                                                   Saritha Komatireddy
                                                   Erin M. Reid
                                                   Philip Pilmar
                                                   Marietou E. Diouf
                                                   Adam Amir
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

cc:    Clerk of Court (by ECF)
       Defense Counsel (by ECF)
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                         Jurors Who Should Be Excused

 1              5               16             20             24
 25             39              42             43             47
 51             52              54             57             58
 60             63              65             66             69
 71             72              74             79             82
 92             95              96             104            106
 115            118             119            127            132
 135            139             140            152            155
 157            161             163            164            166
 167            174             176            179            180
 186            187             188            189            190
 192            194             200            201            202
 208            209             210            217            218
 219            223             225            227            228
 229            235             245            247            249
 255            257             262            263            264
 265            266             268            274            275




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                          Jurors Who Should Appear

 2              3               4              6              7
 8              9               10             11             12
 13             14              15             17             18
 19             21              22             23             26
 27             28              29             30             31
 32             33              34             35             36
 37             38              40             41             44
 45             46              48             49             50
 53             55              56             59             61
 62             64              67             68             70
 73             75              76             77             78
 80             81              83             84             85
 86             87              88             89             90
 91             93              94             97             98
 99             100             101            102            103
 105            107             108            109            110
 111            112             113            114            116
 117            120             121            122            123
 124            125             126            128            129
 130            131             133            134            136
 137            138             141            142            143
 144            145             146            147            148
 149            150             151            153            154
 156            158             159            160            162
 165            168             169            170            171
 172            173             175            177            178
 181            182             183            184            185
 191            193             195            196            197
 198            199             203            204            205
 206            207             211            212            213
 214            215             216            220            221
 222            224             226            230            231
 232            233             234            236            237
 238            239             240            241            242
 243            244             246            248            250
 251            252             253            254            256
 258            259             260            261            267
 269            270             271            272            273
 276




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